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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                         1~~( )(' #:
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WILLIAM R. UNDERWOOD,
                                                                      :-."TE FiLED:                                        t)/3)de01 _
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                                   Plaintiff,
                  -against-                                               16        CIVIL 9058 (DLC)

                                                                                    JUDGMENT
LASTRADA ENTERTAINMENT COMPANY,
LTD., STEVE ARRINGTON, SAM CARTER,
CHARLES CARTER, W AUNG HANKERSON,
and ROGER PARKER,

                                   Defendants.
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         It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Memorandum Opinion and Order dated November 3, 2021, Lastrada is

awarded $28,482.77 from Underwood; accordingly, the case is closed.

Dated: New York, New York

          November 3, 2021


                                                                     RUBY J. KRAJICK

                                                                         Clerk of Court
                                                               BY:
